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                    UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

Kamme O.                                  §
                                          §
v.                                        §      Civil Action 4:17−cv−03877
                                          §
Texas A&M University and System           §


                               Notice of Filing Fee Due

   Filing fees are required to be paid at the commencement of any civil action. See 28
USC § 1914.
    The Clerk's records do not indicate the fee has been paid in this case. To avoid
having your case dismissed for failure to pay, the fee must be paid to the Clerk. The
schedule of fees can be found at www.txs.uscourts.gov/page/FeeSchedule.
    For additional information, call the court's Help Desk at (866) 358−6201 or see the
court's website at www.txs.uscourts.gov.


Date: December 27, 2017

                                                               David J. Bradley, Clerk
